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                      IN THE UNITED STATES DISTRICT COURT FOR TF
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                               EASTERN DISTRICT OF VIRGINIA
                                                                                    c:.

                                         Alexandria Division


 UNITED STATES OF AMERICA

                 V.                                          Case No. I;20-CR-S'f"
 GARRISON KENNETH COURTNEY,
    also known as
         "Garrison Kenneth Pierson Courtney,'
        "Glenn Nelson,"
        "Glenn Nielson,"
        "Gary Pierson,"
        "Garrison Pierson,"

                 Defendant.



                                    STATEMENT OF FACTS


        The United States and the defendant, GARRISON KENNETH COURTNEY,also known

as "Garrison Kenneth Pierson Courtney,""Glenn Nelson,""Glenn Nielson," "Gary Pierson,"

"Garrison Pierson."(hereinafter,"COURTNEY"),stipulate and agree that the following

allegations are true and correct, and further stipulate and agree that at trial, the United States

would have proven the following facts beyond a reasonable doubt with admissible and credible

evidence;


                                           COUNT ONE


                                            (Wire Fraud)

        I.     Defendant GARRISON KENNETH COURTNEY,also known as "Garrison

Kenneth Pierson Courtney," "Glenn Nelson,""Glenn Nielson,""Gary Pierson," "Garrison

Pierson,"(hereinafter,"COURTNEY") was a resident of Alexandria, Virginia, within the

Eastern District of Virginia. From in or about 2005 through in or about 2009, COURTOEY was
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